Case 2:04-cr-20331-BBD Document 37 Filed 04/26/05 Page 1 of 5 Page|D 36

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-v- 2:04cR20331-01-o W'D' O“ T"‘» t~iL~PHfS
Louls ARMSTRONG

Edwin A. Per[y, FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Af'ter November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 03, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tme s. section MQQH_€W Offense Mm_w;l§l
Q>r\_clud_e_€!
18 U.S.C. § 922(g) Felon in Possession of a Firearm 06/02/2004 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Viandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 01/27/1969 Aprii 14, 2005
Deft’s U.S. |V|arsha| No.: 19827-076

Defendant’s lV|aiiing Address:
4632 White Pine Street
i\/lemphis, TN 38109

 
   

BERN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

/
Apri|& j , 2005

This doct ment entered on the docket sheet in com iiance
with sale 55 and/or szrb) mch on L '°7 7 ‘

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Case 2:04-cr-20331-BBD Document 37 Filed 04/26/05 Page 2 of 5 Page|D 37

Case No: 2:04CR20331-01 Defendant Name: i_ouis AR|VISTRONG Page 2 of4
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 51 Months.

The Court recommends to the Bureau of Prisons:
That the defendant be designated to a facility in South Florida or as close as possible
to his family in |Vliami, F|orida.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/|arsha|

Case 2:04-cr-20331-BBD Document 37 Filed 04/26/05 Page 3 of 5 PagelD 38

Case No: 2104CR20331~01 Defendant Name: Louis ARN|STRONG Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten{10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

Case 2:04-cr-20331-BBD Document 37 Filed 04/26/05 Page 4 of 5 PagelD 39

Case No: 2:04CR20331-01 Defendant Name: l_ouis AR|V|STRONG Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court',

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of F’ayments set
forth in the Criminal Nlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release;

The defendant shall participate in substance abuse testing and treatment as directed by the
Probation Officer;

The defendant shall seek and maintain full-time employment as directed by the Probation
Officer;

The defendant shall obtain his GED as directed by the Probation Off"icer;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00
The Speciai Assessment shall be due immediatelyl

 

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20331 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

